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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                               LUBBOCK DIVISION

STATE OF TEXAS, et al.,

        Plaintiffs,

v.                                                          No. 5:22-CV-185-H

XAVIER BECERRA, in his official capacity
as Secretary of Health and Human Services,
et al.,

        Defendants.
                                AMENDED JUDGMENT
       The Court entered a Rule 54(b) judgment on December 20, 2022. Dkt. No. 106.

Plaintiffs later filed an Unopposed Motion to Correct Omission from Judgment under Rule

60(a). Dkt. No. 108. In the motion, the plaintiffs state that they believe “these issues would

be most clearly presented for appellate review if the judgment explicitly includes” the

decretal language from the Court’s memorandum opinion and order (Dkt. No. 73) issuing a

preliminary injunction. Id. at 2. The defendants do not oppose the request, so the Court

issues this amended judgment to include the decretal language from the Court’s preliminary

injunction order.

       In accordance with the parties’ Joint Status Report (Dkt. No. 105) and for the

reasons stated in the Court’s Memorandum Opinion and Order granting Plaintiffs’ Motion

for Preliminary Injunction (Dkt. No. 73), the Court enters this amended final judgment

pursuant to Federal Rule of Civil Procedure 54(b). Specifically, the Court enters this Rule

54(b) final judgment with respect to (i) Plaintiffs’ Count 2—alleging that the HHS Guidance

(Abortion Mandate) exceeds statutory authority, and (ii) Plaintiffs’ Count 3—alleging that

Defendants failed to conduct notice and comment in accordance with the requirements of
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the Medicare Act. See Dkt. No. 18 (Plaintiffs’ Amended Complaint) at 22–25; Dkt. No. 73

(Memorandum Opinion and Order granting Preliminary Injunction) at 39, 55.

          Pursuant to Rule 54(b), the Court expressly determines that there is no just reason

for delay and directs the Clerk of Court to enter this as a final judgment. Thus:

   (1) The defendants may not enforce the Guidance and Letter’s interpretation that Texas

       abortion laws are preempted by EMTALA; and

   (2) The defendants may not enforce the Guidance and Letter’s interpretation of

       EMTALA—both as to when an abortion is required and EMTALA’s effect on state

       laws governing abortion—within the State of Texas or against AAPLOG’s members

       and CMDA’s members.

The Court stays the Plaintiffs’ remaining claims pending resolution of any appeal from this

judgment. The Court instructs the clerk to administratively close this case. The parties

must notify the Court when the appeal is resolved and this case is ready for further litigation

or resolution.

       So ordered on January 13, 2023.



                                                JAMES WESLEY HENDRIX
                                                UNITED STATES DISTRICT JUDGE




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